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     SO. CAL. EQUAL ACCESS GROUP
 1   Jason J. Kim (SBN 190246)
     Jason Yoon (SBN 306137)
 2   Kevin Hong (SBN 299040)
     101 S. Western Ave., Second Floor
 3   Los Angeles, CA 90004
     Telephone: (213) 252-8008
 4   Facsimile: (213) 252-8009
     cm@SoCalEAG.com
 5
     Attorneys for Plaintiff
 6   OMAR LUNA
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     OMAR LUNA,                                Case No.:
11
                  Plaintiff,                   COMPLAINT FOR INJUNCTIVE
12                                             RELIEF AND DAMAGES FOR DENIAL
           vs.                                 OF CIVIL RIGHTS OF A DISABLED
13                                             PERSON IN VIOLATIONS OF
14                                             1. AMERICANS WITH DISABILITIES
                                               ACT, 42 U.S.C. §12131 et seq.;
15   ELEVATE GRANADA HILLS;
     LINDWORTH GROUP LLC; and DOES 1           2. CALIFORNIA’S UNRUH CIVIL
16                                             RIGHTS ACT;
     to 10,
17                Defendants.                  3. CALIFORNIA’S DISABLED
                                               PERSONS ACT;
18
                                               4. CALIFORNIA HEALTH & SAFETY
19                                             CODE;
20                                             5. NEGLIGENCE
21
22
23
24         Plaintiff OMAR LUNA (“Plaintiff”) complains of Defendants ELEVATE
25   GRANADA HILLS; LINDWORTH GROUP LLC; and DOES 1 to 10 (“Defendants”)
26   and alleges as follows:
27   //
28   //



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 1                                             PARTIES
 2            1.   Plaintiff is a California resident with a physical disability. Plaintiff suffers
 3   from multiple sclerosis and is substantially limited in his ability to walk. Plaintiff requires
 4   the use of a wheelchair at all times when traveling in public.
 5            2.   Defendants are, or were at the time of the incident, the real property owners,
 6   business operators, lessors and/or lessees of the real property for a dispensary
 7   (“Business”) located at or about 10721 Chatsworth St., Granada Hills, California.
 8            3.   The true names and capacities, whether individual, corporate, associate or
 9   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
10   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
11   Court to amend this Complaint when the true names and capacities have been
12   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
13   fictitiously named Defendants are responsible in some manner, and therefore, liable to
14   Plaintiff for the acts herein alleged.
15            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18   the things alleged herein was acting with the knowledge and consent of the other
19   Defendants and within the course and scope of such agency or employment relationship.
20            5.   Whenever and wherever reference is made in this Complaint to any act or
21   failure to act by a defendant or Defendants, such allegations and references shall also be
22   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23   and severally.
24                                 JURISDICTION AND VENUE
25            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27   seq.).
28




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 1         7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2   arising from the same nucleus of operating facts, are also brought under California law,
 3   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4   54, 54., 54.3 and 55.
 5         8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7   property which is the subject of this action is located in this district, Los Angeles County,
 8   California, and that all actions complained of herein take place in this district.
 9                                     FACTUAL ALLEGATIONS
10         10.    In or about December of 2023, Plaintiff went to the Business.
11         11.    The Business is a dispensary business establishment, open to the public, and
12   is a place of public accommodation that affects commerce through its operation.
13   Defendants provide parking spaces for customers.
14         12.    While attempting to enter the Business during each visit, Plaintiff personally
15   encountered a number of barriers that interfered with his ability to use and enjoy the
16   goods, services, privileges, and accommodations offered at the Business.
17         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
18   included, but were not limited to, the following:
19                a.     Defendants failed to comply with the federal and state standards for
20                       the parking space designated for persons with disabilities. Defendants
21                       failed to provide the parking space identification sign with the
22                       International Symbol of Accessibility.
23                b.     Defendants failed to comply with the federal and state standards for
24                       the parking space designated for persons with disabilities. Defendants
25                       failed to post required signage such as “Van Accessible,” “Minimum
26                       Fine $250” and “Unauthorized Parking.”
27         14.    These barriers and conditions denied Plaintiff the full and equal access to the
28   Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and



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 1   patronize the Business; however, Plaintiff is deterred from visiting the Business because
 2   his knowledge of these violations prevents him from returning until the barriers are
 3   removed.
 4         15.    Based on the violations, Plaintiff alleges, on information and belief, that
 5   there are additional barriers to accessibility at the Business after further site inspection.
 6   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
 7   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
 8         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
 9   knew that particular barriers render the Business inaccessible, violate state and federal
10   law, and interfere with access for the physically disabled.
11         17.    At all relevant times, Defendants had and still have control and dominion
12   over the conditions at this location and had and still have the financial resources to
13   remove these barriers without much difficulty or expenses to make the Business
14   accessible to the physically disabled in compliance with ADDAG and Title 24
15   regulations. Defendants have not removed such barriers and have not modified the
16   Business to conform to accessibility regulations.
17                                     FIRST CAUSE OF ACTION
18          VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
19         18.    Plaintiff incorporates by reference each of the allegations in all prior
20   paragraphs in this complaint.
21         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
22   shall be discriminated against on the basis of disability in the full and equal enjoyment of
23   the goods, services, facilities, privileges, advantages, or accommodations of any place of
24   public accommodation by any person who owns, leases, or leases to, or operates a place
25   of public accommodation. See 42 U.S.C. § 12182(a).
26         20.    Discrimination, inter alia, includes:
27                a.     A failure to make reasonable modification in policies, practices, or
28                       procedures, when such modifications are necessary to afford such



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 1                    goods, services, facilities, privileges, advantages, or accommodations
 2                    to individuals with disabilities, unless the entity can demonstrate that
 3                    making such modifications would fundamentally alter the nature of
 4                    such goods, services, facilities, privileges, advantages, or
 5                    accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 6              b.    A failure to take such steps as may be necessary to ensure that no
 7                    individual with a disability is excluded, denied services, segregated or
 8                    otherwise treated differently than other individuals because of the
 9                    absence of auxiliary aids and services, unless the entity can
10                    demonstrate that taking such steps would fundamentally alter the
11                    nature of the good, service, facility, privilege, advantage, or
12                    accommodation being offered or would result in an undue burden. 42
13                    U.S.C. § 12182(b)(2)(A)(iii).
14              c.    A failure to remove architectural barriers, and communication barriers
15                    that are structural in nature, in existing facilities, and transportation
16                    barriers in existing vehicles and rail passenger cars used by an
17                    establishment for transporting individuals (not including barriers that
18                    can only be removed through the retrofitting of vehicles or rail
19                    passenger cars by the installation of a hydraulic or other lift), where
20                    such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
21              d.    A failure to make alterations in such a manner that, to the maximum
22                    extent feasible, the altered portions of the facility are readily
23                    accessible to and usable by individuals with disabilities, including
24                    individuals who use wheelchairs or to ensure that, to the maximum
25                    extent feasible, the path of travel to the altered area and the
26                    bathrooms, telephones, and drinking fountains serving the altered
27                    area, are readily accessible to and usable by individuals with
28                    disabilities where such alterations to the path or travel or the



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 1                       bathrooms, telephones, and drinking fountains serving the altered area
 2                       are not disproportionate to the overall alterations in terms of cost and
 3                       scope. 42 U.S.C. § 12183(a)(2).
 4         21.    Where parking spaces are provided, accessible parking spaces shall be
 5   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
 6   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
 7   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
 8   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
 9   be a van accessible parking space. 2010 ADA Standards § 208.2.4.
10         22.    Under the ADA, the method and color of marking are to be addressed by
11   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
12   Building Code (“CBC”), the parking space identification signs shall include the
13   International Symbol of Accessibility. Parking identification signs shall be reflectorized
14   with a minimum area of 70 square inches. Additional language or an additional sign
15   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
16   parking space identification sign shall be permanently posted immediately adjacent and
17   visible from each parking space, shall be located with its centerline a maximum of 12
18   inches from the centerline of the parking space and may be posted on a wall at the
19   interior end of the parking space. See CBC § 11B-502.6, et seq.
20         23.    Moreover, an additional sign shall be posted either in a conspicuous place at
21   each entrance to an off-street parking facility or immediately adjacent to on-site
22   accessible parking and visible from each parking space. The additional sign shall not be
23   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
24   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
25   designated accessible spaces not displaying distinguishing placards or special license
26   plates issued for persons with disabilities will be towed always at the owner’s expense…”
27   See CBC § 11B-502.8, et seq.
28




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 1         24.      Here, Defendants failed to provide the parking space identification sign with
 2   the International Symbol of Accessibility. In addition, Defendants failed to provide the
 3   signs stating “Minimum Fine $250” and “Van Accessible.” Moreover, Defendants failed
 4   to provide the additional sign with the specific language stating “Unauthorized vehicles
 5   parked in designated accessible spaces not displaying distinguishing placards or special
 6   license plates issued for persons with disabilities will be towed always at the owner’s
 7   expense…”
 8         25.      A public accommodation shall maintain in operable working condition those
 9   features of facilities and equipment that are required to be readily accessible to and usable
10   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
11         26.      By failing to maintain the facility to be readily accessible and usable by
12   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
13   regulations.
14         27.      The Business has denied and continues to deny full and equal access to
15   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
16   discriminated against due to the lack of accessible facilities, and therefore, seeks
17   injunctive relief to alter facilities to make such facilities readily accessible to and usable
18   by individuals with disabilities.
19                                 SECOND CAUSE OF ACTION
20                     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
21         28.      Plaintiff incorporates by reference each of the allegations in all prior
22   paragraphs in this complaint.
23         29.      California Civil Code § 51 states, “All persons within the jurisdiction of this
24   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
25   national origin, disability, medical condition, genetic information, marital status, sexual
26   orientation, citizenship, primary language, or immigration status are entitled to the full
27   and equal accommodations, advantages, facilities, privileges, or services in all business
28   establishments of every kind whatsoever.”



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 1         30.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
 2   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
 3   for each and every offense for the actual damages, and any amount that may be
 4   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
 5   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
 6   attorney’s fees that may be determined by the court in addition thereto, suffered by any
 7   person denied the rights provided in Section 51, 51.5, or 51.6.
 8         31.    California Civil Code § 51(f) specifies, “a violation of the right of any
 9   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
10   shall also constitute a violation of this section.”
11         32.    The actions and omissions of Defendants alleged herein constitute a denial
12   of full and equal accommodation, advantages, facilities, privileges, or services by
13   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
14   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
15   51 and 52.
16         33.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
17   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
18   damages as specified in California Civil Code §55.56(a)-(c).
19                                  THIRD CAUSE OF ACTION
20                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
21         34.    Plaintiff incorporates by reference each of the allegations in all prior
22   paragraphs in this complaint.
23         35.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
24   entitled to full and equal access, as other members of the general public, to
25   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
26   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
27   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
28   of transportation (whether private, public, franchised, licensed, contracted, or otherwise



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 1   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
 2   places of public accommodations, amusement, or resort, and other places in which the
 3   general public is invited, subject only to the conditions and limitations established by
 4   law, or state or federal regulation, and applicable alike to all persons.
 5         36.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 6   corporation who denies or interferes with admittance to or enjoyment of public facilities
 7   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
 8   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 9   the actual damages, and any amount as may be determined by a jury, or a court sitting
10   without a jury, up to a maximum of three times the amount of actual damages but in no
11   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
12   determined by the court in addition thereto, suffered by any person denied the rights
13   provided in Section 54, 54.1, and 54.2.
14         37.    California Civil Code § 54(d) specifies, “a violation of the right of an
15   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
16   constitute a violation of this section, and nothing in this section shall be construed to limit
17   the access of any person in violation of that act.
18         38.    The actions and omissions of Defendants alleged herein constitute a denial
19   of full and equal accommodation, advantages, and facilities by physically disabled
20   persons within the meaning of California Civil Code § 54. Defendants have
21   discriminated against Plaintiff in violation of California Civil Code § 54.
22         39.    The violations of the California Disabled Persons Act caused Plaintiff to
23   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
24   statutory damages as specified in California Civil Code §55.56(a)-(c).
25                                FOURTH CAUSE OF ACTION
26                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
27         40.    Plaintiff incorporates by reference each of the allegations in all prior
28   paragraphs in this complaint.



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 1           41.    Plaintiff and other similar physically disabled persons who require the use of
 2    a wheelchair are unable to use public facilities on a “full and equal” basis unless each
 3    such facility is in compliance with the provisions of California Health & Safety Code §
 4    19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 5    provisions of California Health & Safety Code § 19955 et seq.
 6           42.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
 7    that public accommodations or facilities constructed in this state with private funds
 8    adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
 9    Title 1 of the Government Code. The code relating to such public accommodations also
10    require that “when sanitary facilities are made available for the public, clients, or
11    employees in these stations, centers, or buildings, they shall be made available for
12    persons with disabilities.
13           43.    Title II of the ADA holds as a “general rule” that no individual shall be
14    discriminated against on the basis of disability in the full and equal enjoyment of goods
15    (or use), services, facilities, privileges, and accommodations offered by any person who
16    owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
17    Further, each and every violation of the ADA also constitutes a separate and distinct
18    violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
19    award of damages and injunctive relief pursuant to California law, including but not
20    limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
21                                    FIFTH CAUSE OF ACTION
22                                          NEGLIGENCE
23           44.    Plaintiff incorporates by reference each of the allegations in all prior
24    paragraphs in this complaint.
25           45.    Defendants have a general duty and a duty under the ADA, Unruh Civil
26    Rights Act and California Disabled Persons Act to provide safe and accessible facilities
27    to the Plaintiff.
28




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 1          46.    Defendants breached their duty of care by violating the provisions of ADA,
 2    Unruh Civil Rights Act and California Disabled Persons Act.
 3          47.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
 4    has suffered damages.
 5                                     PRAYER FOR RELIEF
 6          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
 7    Defendants as follows:
 8          1.     For preliminary and permanent injunction directing Defendants to comply
 9    with the Americans with Disability Act and the Unruh Civil Rights Act;
10          2.     Award of all appropriate damages, including but not limited to statutory
11    damages, general damages and treble damages in amounts, according to proof;
12          3.     Award of all reasonable restitution for Defendants’ unfair competition
13    practices;
14          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
15    action;
16          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
17          6.     Such other and further relief as the Court deems just and proper.
18                               DEMAND FOR TRIAL BY JURY
19          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
20    demands a trial by jury on all issues so triable.
21
22    Dated: January 18, 2024                 SO. CAL. EQUAL ACCESS GROUP
23
24
25                                            By:    _/s/ Jason J. Kim___________
                                                     Jason J. Kim, Esq.
26                                                   Attorneys for Plaintiff
27
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